                                                     Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 1 of 31




                                            1    SONIA MARTIN (State Bar No. 191148)
                                                 JONE TRAN (State Bar No. 239311)
                                            2    DENTONS US LLP
                                                 One Market Plaza, Spear Tower, 24th Floor
                                            3    San Francisco, CA 94105
                                                 Telephone: (415) 267-4000
                                            4    Facsimile: (415) 267-4198
                                                 Email:      sonia.martin@dentons.com
                                            5                jone.tran@dentons.com
                                            6    Attorneys for Defendants
                                                 NATIONWIDE INSURANCE COMPANY
                                            7    and AAMCO INSURANCE COMPANY
                                            8

                                            9                                  UNITED STATES DISTRICT COURT
                                            10                                NORTHERN DISTRICT OF CALIFORNIA
                                            11                                       SAN JOSE DIVISION
ONE MARKET PLAZA, SPEAR TOWER, 24TH FLOOR




                                            12

                                            13   DE LAVEAGA SERVICE CENTER, INC.,                Case No. 21-cv-03389
        SAN FRANCISCO, CA 94105
            DENTONS US LLP




                                            14                   Plaintiff,                      NOTICE OF REMOVAL OF CIVIL
             (415) 267-4000




                                                                                                 ACTION
                                            15           vs.
                                            16   NATIONWIDE INSURANCE COMPANY,
                                                 AAMCO INSURANCE COMPANY,
                                            17   STEPHEN ROTHHAMMER, and
                                                 DOES 1 through 50, inclusive,
                                            18
                                                                 Defendants.
                                            19
                                            20

                                            21           TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
                                            22   NORTHERN DISTRICT OF CALIFORNIA AND TO PLAINTIFF AND ITS ATTORNEYS OF
                                            23   RECORD:
                                            24           PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. section 1441(a), defendants
                                            25   Nationwide Insurance Company (“Nationwide”) and AAMCO Insurance Company (“AMCO”)
                                            26

                                            27

                                            28
                                                 Case No. 21-cv-03389                   -1-                       NATIONWIDE DEFENDANTS’
                                                                                                                       NOTICE OF REMOVAL
                                                     Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 2 of 31




                                            1    (collectively, the “Nationwide Defendants”)1 hereby remove to this Court the action described
                                            2    below and respectfully submit the following statement of grounds for removal:
                                            3                                         The Superior Court Action
                                            4            1.    On February 3, 2021, plaintiff De LaVeaga Service Center, Inc., commenced an
                                            5    action in the Superior Court of the State of California in and for the County of Santa Cruz titled
                                            6    “De LaVeaga Service Center, Inc. v. Nationwide Insurance Company, AAMCO Insurance
                                            7    Company, Stephen Rothhammer, and Does 1 through 50, inclusive,” Case No. 21CV00261 (the
                                            8    “Superior Court Action”).
                                            9           2.     In the Superior Court Action, plaintiff seeks damages with respect to the Nationwide
                                            10   Defendants’ handling of its insurance claim under its businessowners policy for the October 21,
                                            11   2018 fire loss at its auto repair business. (Complaint for Bad Faith Insurance Conduct
ONE MARKET PLAZA, SPEAR TOWER, 24TH FLOOR




                                            12   (“Compl.”), ¶¶ 7, 10, 11-14.) Plaintiff alleges the Nationwide Defendants, through Stephen
                                            13   Rothhammer, claimed that it did not own the business and stopped insurance payments for its
        SAN FRANCISCO, CA 94105
            DENTONS US LLP




                                            14   business losses. (Id. ¶¶ 12-13.) Plaintiff contends that, after it provided proof of ownership, the
             (415) 267-4000




                                            15   Nationwide Defendants denied and delayed recommencing payments. (Id. ¶ 14.) Plaintiff asserts
                                            16   causes of action against defendants for breach of the implied covenant of good faith and fair
                                            17   dealing and intentional infliction of emotional distress. (Id. ¶¶ 15-29.) It seeks general, special,
                                            18   and exemplary damages, attorneys’ fees, interest, and costs. (Id., Prayer for Relief, ¶¶ 1-6.)
                                            19                                                  Service
                                            20          3.     On April 7, 2021, plaintiff served the summons and complaint in the Superior Court
                                            21   Action on Corporation Service Company (“CSC”), the agent for service of process for
                                            22   Nationwide.
                                            23

                                            24   1
                                                   Defendants’ correct corporate names are “Nationwide Mutual Insurance Company” and
                                            25   “AMCO Insurance Company.” There is no company named “AAMCO Insurance Company”
                                                 under the Nationwide Mutual Insurance Company umbrella and there are no companies by those
                                            26   names that are registered with the California Secretary of State. See Business Search,
                                                 https://businesssearch.sos.ca.gov/CBS/SearchResults?filing=&SearchType=CORP&SearchCrite
                                            27   ria=aamco+insurance&SearchSubType=Keyword (last visited May 6, 2021);
                                                 https://businesssearch.sos.ca.gov/CBS/SearchResults?filing=&SearchType=CORP&SearchCrite
                                            28   ria=nationwide+insurance+company&SearchSubType=Keyword (last visited May 6, 2021).
                                                 Case No. 21-cv-03389                       -2-                           NATIONWIDE DEFENDANTS’
                                                                                                                               NOTICE OF REMOVAL
                                                     Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 3 of 31




                                            1           4.     On April 7, 2021, plaintiff also served the summons and complaint in the Superior
                                            2    Court Action on CSC, the agent for service of process for AMCO.
                                            3           5.     Defendant Stephen Rothhammer has not been served.
                                            4           6.     Attached as Exhibit “A” are true and correct copies of the civil case cover sheet,
                                            5    complaint, summons, proofs of service, case management information and setting notice, and
                                            6    statements of damages, which the Nationwide Defendants believe constitute all pleadings and
                                            7    documents on file in the Superior Court Action.
                                            8                                          Diversity of Citizenship
                                            9           7.     Plaintiff De Laveaga Service Center, Inc., was, at the time of filing of the Superior
                                            10   Court Action, now is, and at all relevant times has been, a resident and citizen of the State of
                                            11   California. (Ex. A, Compl., ¶ 1.)
ONE MARKET PLAZA, SPEAR TOWER, 24TH FLOOR




                                            12          8.     Nationwide was, at the time of filing of the Superior Court Action, now is, and at all
                                            13   relevant times has been, a corporation organized and existing under the laws of the State of Ohio,
        SAN FRANCISCO, CA 94105
            DENTONS US LLP




                                            14   with its principal place of business in the city of Columbus, Ohio.
             (415) 267-4000




                                            15         9.      AMCO was, at the time of filing of the Superior Court Action, now is, and at all
                                            16   relevant times has been, a corporation organized and existing under the laws of the State of Iowa,
                                            17   with its principal place of business in the city of Des Moines, Iowa.
                                            18         10.     Defendant Stephen Rothhammer was, at the time of filing of the Superior Court
                                            19   Action, now is, and at all relevant times has been, a resident and citizen of the State of California.
                                            20   (Id. ¶ 4.)
                                            21          11.    Accordingly, plaintiff and the Nationwide Defendants are citizens and residents of
                                            22   different states.
                                            23          12.    “Doe” defendants are disregarded in determining diversity of citizenship. 28 U.S.C.
                                            24   § 1441(b)(1) (“For purposes of removal under this chapter, the citizenship of defendants sued
                                            25   under fictitious names shall be disregarded.”).
                                            26                               Fraudulent Joinder of a California Resident
                                            27          13.    In addition to asserting causes of action against the Nationwide Defendants, plaintiff
                                            28   purports to sue an insurance adjuster, Mr. Rothhammer, for breach of the implied covenant of
                                                 Case No. 21-cv-03389                       -3-                            NATIONWIDE DEFENDANTS’
                                                                                                                                NOTICE OF REMOVAL
                                                     Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 4 of 31




                                            1    good faith and fair dealing and intentional infliction of emotional distress. As set forth below, its
                                            2    joinder of Mr. Rothhammer is fraudulent and designed to attempt to prevent the removal of the
                                            3    Superior Court Action to this Court, where it properly belongs, by the assertion of a sham claim
                                            4    against a resident defendant. In such a circumstance, a federal court will disregard the sham party
                                            5    for purposes of determining whether diversity jurisdiction exists.
                                            6           14.    Mr. Rothhammer is a sham defendant because the complaint fails to allege a claim
                                            7    against him. Pursuant to California Supreme Court authority, plaintiff cannot state a claim for
                                            8    breach of the implied covenant of good faith and fair dealing against Mr. Rothhammer, a claims
                                            9    adjuster. See Egan v. Mut. of Omaha Ins. Co., 24 Cal. 3d 809, 824, 620 P.2d 141 (1979) (claims
                                            10   adjuster and manager were “not parties to the insurance contract and not subject to the implied
                                            11   covenant.”); Gruenberg v. Aetna Ins. Co., 9 Cal. 3d 566, 576 (1973) (“[T]he non-insurer
ONE MARKET PLAZA, SPEAR TOWER, 24TH FLOOR




                                            12   defendants [claims representatives] were not parties to the agreements for insurance; therefore,
                                            13   they are not, as such, subject to an implied duty of good faith and fair dealing.”); see also Sanchez
        SAN FRANCISCO, CA 94105
            DENTONS US LLP




                                            14   v. Lindsey Morden Claims Servs., Inc., 72 Cal. App. 4th 249, 254-55 (1999) (“California courts
             (415) 267-4000




                                            15   have refused to extend liability for bad faith, the predominant insurer tort, to agents and
                                            16   employees of the insurer.”) (emphasis original). Because Mr. Rothhammer was not a party to the
                                            17   insurance contract, he is not subject to the duty for good faith and fair dealing.
                                            18          15.    In addition, plaintiff, a corporation, lacks standing to state a claim for intentional
                                            19   infliction of emotional distress. Huntingdon Life Scis., Inc. v. Stop Huntingdon Animal Cruelty
                                            20   USA, Inc., 129 Cal. App. 4th 1228, 1260 (2005) (“As a business entity, . . . HLS lacks standing
                                            21   to pursue the[] tort[]” of intentional infliction of emotional distress”); see also Tenants Assn. of
                                            22   Park Santa Anita v. Southers, 222 Cal. App. 3d 1293, 1304 (1990) (a homeowners association
                                            23   “does not have standing to sue for damages/injuries for anxiety, emotional distress, or personal
                                            24   injuries.”); F.P.D., Inc. v. Hartford Cas. Ins. Co., No. CV 15-04419 DMG (EX), 2015 WL
                                            25   12806477, at *3 (C.D. Cal. Oct. 6, 2015) (“As a matter of law, however, a business entity . . .
                                            26   cannot suffer emotional distress, and therefore lacks standing to pursue a claim for intentional
                                            27   infliction of emotional distress.”); F.D.I.C. v. Hulsey, 22 F.3d 1472, 1489 (10th Cir. 1994)
                                            28
                                                 Case No. 21-cv-03389                        -4-                            NATIONWIDE DEFENDANTS’
                                                                                                                                 NOTICE OF REMOVAL
                                                     Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 5 of 31




                                            1    (“Since a corporation lacks the cognizant ability to experience emotions, a corporation cannot
                                            2    suffer emotional distress. Thus, no claim for intentional infliction of emotional distress lies.”).
                                            3           16.    Accordingly, Mr. Rothhammer was “fraudulently joined for diversity and removal
                                            4    purposes,” and his presence is disregarded in determining jurisdiction. See Ritchey v. Upjohn
                                            5    Drug Co., 139 F.3d 1313, 1318-20 (9th Cir. 1998).
                                            6                                          Amount in Controversy
                                            7           17.    In the Superior Court Action, plaintiff seeks general, special, and exemplary
                                            8    damages, attorneys’ fees, prejudgment and post-judgment interest, and costs of suit. (Ex. A,
                                            9    Compl., Prayer for Relief, ¶¶ 1-6.)
                                            10          18.    Plaintiff seeks $13,500,000 in general and special damages. (Ex. A, Statement of
                                            11   Damages [“Dmgs Stmt”] ¶¶ 1-2.)
ONE MARKET PLAZA, SPEAR TOWER, 24TH FLOOR




                                            12          19.    Plaintiff also seeks attorneys’ fees and exemplary damages. (Ex. A, Compl., Prayer
                                            13   for Relief, ¶¶ 3-4.) See Surber v. Reliance Nat. Indem. Co., 110 F. Supp. 2d 1227, 1232 (N.D.
        SAN FRANCISCO, CA 94105
            DENTONS US LLP




                                            14   Cal. 2000) (in calculating the amount in controversy, the Court must consider the attorneys’ fees
             (415) 267-4000




                                            15   and punitive damages plaintiff may recover if it should prevail in the case).
                                            16          20.    Accordingly, the amount in controversy in the Superior Court Action, exclusive of
                                            17   interest and costs, exceeds the $75,000 jurisdictional minimum for federal diversity jurisdiction.
                                            18   (See Ex. A, Compl., Prayer for Relief; Ex. A, Dmgs Stmt.)
                                            19                                           Original Jurisdiction
                                            20          21.    The Superior Court Action is a civil action of which this Court has original
                                            21   jurisdiction under 28 U.S.C. section 1332, in that plaintiff and the Nationwide Defendants are
                                            22   citizens of different states and the amount in controversy exceeds $75,000, exclusive of interest
                                            23   and costs.
                                            24          22.    The case is therefore one that the Nationwide Defendants may remove to this Court
                                            25   pursuant to 28 U.S.C. sections 1441 and 1446. The removal is effected within thirty (30) days
                                            26   after service of the Complaint in the Superior Court Action, in accordance with 28 U.S.C. section
                                            27   1446(b).
                                            28
                                                 Case No. 21-cv-03389                        -5-                           NATIONWIDE DEFENDANTS’
                                                                                                                                NOTICE OF REMOVAL
                                                     Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 6 of 31




                                            1          WHEREFORE, the Nationwide Defendants hereby give notice that this action has been
                                            2    removed, in its entirety, from the Santa Cruz County Superior Court to the United States District
                                            3    Court for the Northern District of California, for further proceedings as though it originally had
                                            4    been instituted in the District Court.
                                            5                                                    Respectfully submitted,

                                            6     Dated: April 6, 2021                           DENTONS US LLP
                                            7
                                                                                                 By: _________________________________
                                            8                                                               SONIA MARTIN
                                            9                                                    Attorneys for Defendants
                                                                                                 NATIONWIDE INSURANCE COMPANY and
                                            10                                                   AAMCO INSURANCE COMPANY
                                            11
ONE MARKET PLAZA, SPEAR TOWER, 24TH FLOOR




                                            12

                                            13
        SAN FRANCISCO, CA 94105
            DENTONS US LLP




                                            14
             (415) 267-4000




                                            15

                                            16

                                            17

                                            18

                                            19
                                            20

                                            21

                                            22

                                            23

                                            24

                                            25

                                            26

                                            27

                                            28
                                                 Case No. 21-cv-03389                      -6-                             NATIONWIDE DEFENDANTS’
                                                                                                                                NOTICE OF REMOVAL
Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 7 of 31




         EXHIBIT A
                              Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 8 of 31

      ATTORNEY OR PARTY WITHOUT ATTORNEY Name• State Bar number, and address):                                                      FOR COURT USE ONLY
  _ John Kevin Crowley, S N 88189; Jesse Turner, SBN 250789
        Attorne- y s a>f Law                                                                                          ELECTRONICALLY FILED
        125 S. I~arket Street, Suite 1200                                                                             Superior Court of California
        San Jose, CA 95113-2288                                                                                       County of Santa Cruz
             TELEPHDNE NO.: 408-288-8100           FAX NO.: 408-288-9409                                              2/3/2021 1:10 PM
                                   tC, De Laveaga Service Center, inc.
        ATTORNEYFOR(Name): Plalnt(11
                                                                                                                      Alex Calvo, Clerk
      SUPERIOR COURT OF CALIFORNIA, COUNTY OF Santa Cruz
          STREET ADDRESs: 701 Ocean Street
         MAILING ADDRESS:
         CITY AND ZIP CODE:Santa CruZ, CA 95060
             BRANCH NAME:

        CASE rvAME: DE LAVEAGA V. NATIONWIDE INSURANCE CO.
                                                                                                                  az           a    n    , Deputy




          CIVIL CASE COVER SHEET                                     Complex Case Designation                    CASE NUMBER:
                                                                                                                                   21 CVOO261
  ®        Unlimited   0          Limited                        Q     Counter        []     Joinder
           (Amount                (Amount
                                                                                                                 JUDGE:
           demanded               demanded is               Filed with first appearance by defendant
           exceeds $25,000)       $25,000 or less)              (Cal. Rules of Court, rule 3.402                 OEPT.:
                                              ltemS 1-6 be)ow must be com /etea See Instructrons on page Z.
 1. Check one box beiow for the case type that best descn es this case:
    Auto Tort                                     Contract                                                    Provisionaliy Complex Civll Litigation
           Auto (22)                                                    Breach of contract/warranty (06)       Cal. Rules of Court, ruies 3.400-3.403)
       E]Uninsured motorist (46)                                        Rule 3.740 collections (09)                 AntilrustlTrade regulation (03)
                                                                        Other callecfions (09)                      Construction defect (10)
        Other PI/PD1WD (Personal Injury/Property
                                                                        Insurance coverage (18)                    Mass tort (40)
        Damage/Wrongful Death) Tort
                                                                 d     Other contract (37)                         Securities litigation (28)
             Asbestos (04)
                                                                                                                   Environmental/Toxic tort (30)
             Product liability (24)                              Reai Property
                                                                                                                   Insurance coverage claims arising from the
             Medical malpractice (45)                            Q    Eminent domain/Inverse
                                                                                                                   above listed provisionally complex case
             Other PI/PD/WD (23)                                      condemnation (14)
                                                                 ~     Wrongful evictlon (33)                     types (41)
       Non-PIIPDIWD (Other) Tort
                                                                      Other real property (26)               Enforcement of Judgment
           Business tort/unfair business practice (07)
                                                                                                             Q   Enforcementofjudgment (20)
           Civil rights (08)                                     Unlawful Detainer
           Defamation (13)                                           Commercial (31)                         Miscellaneous Civil Complaint
           Fraud (16)                                                Residential (32)                            RICO (27)
           Intellectual property (19)                                Drugs (38)                              El Other complaint (not speciNed above) (42)
           Professlonal negligence (25)
                                                                 Judic(al Review                             Miscellaneous Civil Pet(tion
           Other non-PI/PDNIID tort (35)
                                                                      Asset forfeiture (05)                      Partnership and corporate governance (21)
       Employment                                                     Petition re: arbitration award (11)    Bother petition (not specified above) (43)

       B   Wrongful termination (36)
           Other employment (15)
                                                                      Writ of mandate (02)
                                                                      Other judicial review (39)

2. This case 0        is       ® is not       complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a.Ei Large number of separately represented parties              d. Ei Large number of witnesses
   b.        Extensive motion practice raising difficult or novel   e.     Coordination with related actions pending in one or more courts
             issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
   c. 0      Substantial amount of documentary evidence             f.     Substantial postjudgment judi '          rvision
3. Remedies sought (check all that apply): a. ® monetary b.             nonmonetary; deciaratory or '' nctive re ef c. ® punitive
4. Number of causes of action s ecfty): 2
5. This case      Q is            ~   is not     a class action suit.                                  t
6. If there are any known related cases, fiie and serve a notice of relatg,~(You may use f rm CM-015.)

Date: February 2, 2021
                       JOHN KEVIN CROWLEY
                               (TYPE OR PRINT NAME)                                                     (SIGNATURE OF PARTY OR ATTO44EY FOR PARTY)

                                                                                 NOTICE
  •     Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claim cases or cases filed
        under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may resuit
        in sanctions.
  •     File this cover sheet in addition to any cover sheet required by local court ruie.
  •      If this case is compiex under rule 3.400 et seq. of the Califomia Rules of Court, you must serve a copy of this cover sheet on all
        other parties to the action or proceeding.
  •     Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                     Pege 1 of 2

Form Ad plad for Mandetory Use
 udici I oundl f California    Cf a   ' Essential               CIVIL CASE COVER SNEET                                    Cel. R tes of Court rul 2 30 3.220 3 400 3 403 3 740'
                                                                                                                                ~al. Standaras o~~udiciel Adml'nistrBlion std. 3.10 '
        ~Ray.Ju~y1,2007)                ~Fp~g•                                                                                                              www.courdnYo.ca.gov
                              Ce~'`°m                                                                             Sean O'Neal
                               Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 9 of 31



                                                                                                                                             CM-010
                                           INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your flrst paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case tvpe that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completmg the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsei, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, f4) recovery of personal property, or (5) a prejudgment writ of
attachmenf. 7he identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is comPlex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may flle and serve no later than the time of its first appearance a joinder in the
 IaintifPs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
Fhe case is complex.
                                                             CASE TYPES AND EXAMPLES
Auto Tort                                          Contract
                                                      Breach of Contract/V1larranty (06)             Provislonally Complex Civil Litigation (Cal.
   Auto (22)-Personal lnjury/Property                                                                Rules of Court Rules 3.400-3.403)
       Damage/Wrongful Death                              Breach of Rental/Lease
                                                              Contract (not unlawfui detainer           Antltrust/Trade Regulation (03)
   Uninsured Motorist (46) (if the                                                                      Construction Defect (10)
       case involves an uninsured                                   or wrongful eviction)
                                                           Contract/Wan•anty Breach-Seller              C[aims Involving Mass Tort (40)
       motorist claim subject to                                                                        Securities Litigat[on (28)
          arbitratlon, check this item                         Plaintiff (not fraud or negligence)
                                                           Negligent Breach of Contract/                Environmental/Toxic Tort (30)
          instead ofAuto)                                                                               Insurance Coverage Claims
                                                               Warranty
Other PIIPD/YIID (Personal Injury/                         Other Breach of Contract/Warranty                  (arising from provisionally complex
Property DamagelWrongful Death)                       Collections (e.g., money owed, open                   case type listed above) (41)
Tort                                                       book accounts) (09)                       Enforcement of Judgment
    Asbestos (04)                                          Co[lection Case-Seller P[aintiff             Enforcement of Judgment (20)
        Asbestos Property Damage                           Other Promissory Note/Collections                Abstract of Judgment (Out of
        Asbestos Personal Injury/                              Case                                            County)
              Wrongful Death                          InsuranceCoverage (notprovisionally                   Confession of Judgment (non-
    Product Llability (not asbestos or                     complex) (18)                                          domestic relations)
           toxic%nvironmental) (24)                        Auto Subrogation                                  Sister State Judgment
   Medical Malpractice (45)                                Olher Coverage                                    Administrative Agency Award
        Medloal Malpraclice-                          Other Contract (37)                                         (not unpaid taxes)
             Physicians & Surgeons                         Contractual Fraud                                 Petition/Certification of Entry of
        Other Professionai Health Care                     Other Contract Dispute                                 Judgment on Unpaid Taxes
             Malpractice                           Real Property                                             Other Enforcement of Judgment
   Other PIIPD/WD (23)                                Eminent Domain/Inverse                                      Case
        Premises Liability (e.g., slip                     Condemnation (14)                         Miscel[aneous Civil Complaint
             and fall)                                Wrongful Evictlon (33)                            RICO (27)
        Intentional Bodily Injury/PD/WD               Other Real Property (e.g., quiet title) (26)      Other Comp[aint (not specified
             (e.g., assault, vandalism)                   Writ of Possession of Real Property                above) (42)
        Intentional Infliction of                          Mortgage Foreclosure                              Dec[aratory Relief Only
             Emotional Distress                            Quiet Tit[e                                       Injunctive Relief Only (non-
        Negligent Infliction of                            Other Rea[ Property (not eminent                       harassment)
             Emotional Distress                            domain, landlord/tenant, or                       Mechanics Lien
        Other PI/PD/WD                                     foreclosure)                                      Other Commercial Complaint
Non-PI/PD/WD (Other) Tort                                                                                       Case (non-tort/non-complex)
                                                   Unlawful Detainer                                         Other Civil Complaint
   Business TorUUnfair Business                       Commercial (31)
        PracUce (07)                                                                                              (non-tort/non-complex)
                                                      Res[dential (32)
   Civi[ Rights (e.g., discrimination,                Drugs (38) (if the case tnvolves illegal       Miscellaneous Civil Petitlon
          faise arrest) (not civil                         drugs, check thfs item; othenvise,           Partnership and Corporate
          harassment) (08)                                 report as Commercial or Residentlal)              Governance (21)
   Defamation (e.g., siander, libel)                                                                    Other Pebtion (not specif'ied
        (13)                                       Judicial Review                                           above) (43)
   Fraud (16)                                         Asset Forfeiture (05)                                  Civ[I Harassment
   Intellectual Property (19)                         Petition Re: Arbitration Award (11)                    Workp[ace Violence
   Professional Negligence (25)                       Writ of Manate
                                                                   d     02                                  Elder/Dependent Adult
        Legal Malpractice                                  Writ-Administrative Mandamus                          'Abuse
                                                           Writ-Mandamus on Limited Court                    Election Contest
        Other Professional Malpractice                        Case Matter
             (not medical or legal)                                                                          Petition for Name Change
                                                           Writ-Other Limited Court Case                     Petitlon for Relief from Late
   Other Non-PI/PD/WD Tort (35)                               Review                                              Claim
Employment                                            Other Judicial Review (39)                             Other Civil Petition
   Wrongful Termination (36)                               Review of Health Officer Order
   Other Employment (15)                                   Notice of Appeal-Labor
                                                               Commissioner Appeals
CM-010 [Rev. July 1, 20071   CfQ   • i Essential            CIVIL CASE COVER SHEET                                                            Peg° z°'2

                             cebxom   „r@Forms-                                                      Sean O'Neal
       Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 10 of 31




 1    JOHN KEVIN CROWLEY (saN: 88189)                           ELECTRONICALLY FILED
                                                                Superior Court of California
    JESSE TURNER (ser,:250789)
 2                                                              County of Santa Cruz
    ATTORNEYS AT LAW - •                                        2/3/2021 1:10 PM
    125 S. Market Street, Suite 1200                            Alex Calvo, Clerk
3
    San Jose, CA 95113-2288

                                                               V
                                                                      lena H~sg~, Deputy
4, Telephone: (408) 288-8100
    Facsimile: (408) 288-9409
5 1 Email: jkciawa-pacbell.net
    Email: '1tjd2004(a~yahoo.com
 6

 7    Attorneys for Plaintiff
      DE LAVEAGA SERVICE CENTER, INC.
 8

 9,
                   IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
10                          IN AND FOR THE COUNTY OF SANTA CRUZ
11                                  UNLIMITED JURISDICTION
12

13    DE LAVEAGA SERVICE CENTER,                      Case Number: 21CV00261
14    INC.,
                                                   PLAINTIFF'S COMPLAINT FOR
15                  Plaintiff,                     BAD FAITH INSURANCE CONDUCT

16                                                 1.Breach of the Implied Covenant of
             vs.                                     Good Faith and Fair Dealing; and
17                                                 2.Intentional Infliction of Emotional
                                                     Distress
18
      NATIONWIDE INSURANCE
19    COMPANY, AAMCO INSURANCE
      COMPANY, STEPHEN
20    ROTHHAMMER, and DOES 1 through               DEMAND FOR JURY TRIAL
      50, inclusive,
21
                    Defendants.
22

23
            Plaintiff DE LAVEAGA SERVICE CENTER, INC., by and through its chief
24
      executive officer SEAN O'NEAL, hereby requests a jury trial and alleges as follows:
25
                                  GENERAL ALLEGATIONS
26
27          1.     Plaintiff, DE LAVEAGA SERVICE CENTER, INC., by and through its chief

28    executive officer, SEAN O'NEAL, the real party in interest, at all times herein mentioned

                                                  I
                            COMPLAINT FOR BAD FAITH INSURANCE CONDUCT
      Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 11 of 31




 1   was, and has been lawfully doing business in Santa Cruz, with its principal office in
 2                                                                                                    '
     California located at 1215 Water Street, Santa Cruz, California 95062.
 3
            2.     Plaintiff is informed and believes, and on that basis alleges, that defendants
 4
     NATIONWIDE INSURANCE COMPANY and AAMCO INSURANCE COMPANY
 5
 6   (hereafter collectively referred to as, "defendant INSURANCE") at all times herein

 7   relevant were, and now are, corporations licensed to do business and actually doing

 8   business as insurers and issuing insurance policies in the state of California, with their

 9   principal place of business in Santa Cruz County.
10          3.     Plaintiff is informed and believes, and on that basis alleges, that at all times
11
     herein mentioned, defendant INSURANCE were corporations duly organized and existing
12
     and doing business within the state of California.
13
            4.     Plaintiff is informed and believes, and on that basis alleges, that defendant
14

15
     STEPHEN ROTHHAMMER (hereafter, "ROTHHAMMER") is an individual over the age

16   of 18 years and doing business in Santa Cruz County.                                                 ;

17          5.     The true names or capacities, whether individual, corporate, associate or
18   otherwise, of defendants named herein as DOES 1 through 50, inclusive, are unknown
19
     to Plaintiff at this time, who therefore sues said defendants by such fictitious names.
20
     Plaintiff is informed and believes and therefore alleges that each of the defendants
21
     designated herein by fictitious name is in some manner responsible for the events and
22
     happenings herein referred to and caused damages proximately and foreseeably thereby
23

24   to Plaintiff as hereinafter alleged. Plaintiff asks leave of the Court to amend this Complaint

25   when the true names and capacities have been ascertained.

26          6.     Plaintiff is informed and believes, and on that basis alleges, that at all times
27   herein mentioned, each and every defendant herein was the agent, servant, employee,
28

                                                   2
                          COMPLAINT FOR BAD FAITH INSURANCE CONDUCT
      Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 12 of 31




 1   partner or joint venturer of the other defendants herein; that at all said times, each of said
 2
     defendants was acting within the course and scope of said agency, service, employment,
 3
     partnership or joint venture.
 4
               7.    On or about October 21, 2018, Plaintiffs auto repair business caught fire
 5
     and destroyed much of its business (hereafter, "the incident").
 6

 7             8.    Prior to the incident, Plaintiff had entered into a contract of insurance in

 8   Santa Cruz County, California with defendant INSURANCE. Said contract, hereinafter

 9   referred to as the "Policy" provided, without limitation, for business personal property loss,
10
     as well as business income loss, accounts receivable loss, and business interruption loss
11
     all not to exceed one million dollars ($1,000,000) per incident.
12
               9.    Each year, up to and including the present time, defendant INSURANCE
13
     reissued the Policy to Plaintiff because, throughout the period of said Policy, Plaintiff
14

15
     regularly paid premiums and performed each act required on its part to keep said Policy

16   in full force and effect. Plaintiff intended and expected thereby to be assured peace of

17   mind and financial and economic security in the event of any incident covered under the
18   Policy.
19
               10.   On or about October 21, 2018, Plaintiff made a claim for insurance benefits,
20
     for the damages sustained as a result of the incident described in this Complaint.
21
               11.   On or about October 30, 2018, defendant INSURANCE began making
22
     payments for business personal property loss and business income. Initially, Plaintiff was
23

24   paid a portion of what was owed under its Policy of insurance from defendant

25   INSURANCE. This portion of what it was paid under its Policy with defendant

26   INSURANCE included only a portion of what it was owed for its business personal
27   property loss, and only a portion of what was owed for its business income loss.
28

                                                     3
                           COMPLAINT FOR BAD FAITH INSURANCE CONDUCT
      Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 13 of 31




 1          12.     On or about March 1, 2019, a new adjuster hereinabove designated as

 2   ROTHHAMER was assigned to Plaintiffs insurance claim, and shortly thereafter, all
 3
     payments were halted by ROTHHAMMER. Defendant INSURANCE, through their agent
 4
     ROTHHAMMER, stopped compensating Plaintiff for the damages herein referred to,
 5
 6   claiming that Plaintiff was not the business owner. ROTHHAMMER was claiming that the

 7   business was still owned by the previous owner from whom Plaintiff had purchased the

 8   business. Defendant INSURANCE stopped these much-needed business dependent

 9   payments to Plaintiff, although defendant INSURANCE had been accepting premium
10   payments from Plaintiff for years. Plaintiff, with the help of its attorney at the time,
11
     promptly provided proof that Plaintiff was indeed the business owner, including without
12
     limitation, the purchase agreement for the business and meetings with defendant
13
     INSURANCE and the prior owner, thereby proving that the business indeed belonged to
14

15
     Plaintiff. Despite this, defendant INSURANCE procrastinated, stalled and refused to pay

16   Plaintiff for its rightful benefits under the policy of insurance with defendant INSURANCE

17   until many months after Plaintiff proved its ownership of the business. During this period,
18   Plaintiffs deprivations from recovery under the policy included, without limitation, the
19
     balance of Plaintiffs business personal property losses under the policy, much needed
20
     business income for the continued operation of its business after the incident, accounts
21
     receivable and now a severe business interruption.
22
            13.    Furthermore, after ROTHHAMMER took over the claim and denied Plaintiff
23

24   from receiving its much-needed business benefit payments. ROTHHAMMER also began

25   going behind Plaintiffs attorney's back by making phone calls and submitting emails

26   directly to Plaintiff in a supposed effort to resolve matters.
27          14.    Finally, in February of 2020, defendant INSURANCE completed its so-
28

                                               4
                          COMPLAINT FOR BAD FAITH INSURANCE CONDUCT
      Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 14 of 31




 1   called investigation regarding Plaintiffs ownership of the business simultaneous with its

 2   evaluation of Plaintiffs claim and notified Plaintiff that it would be receiving only a portion
 3
     of the monthly amount that was previously received before the benefits were halted, and
 4
     inexplicably denied various of Plaintiffs other recoveries available under the policy,
 5
 6   including without limitation accounts receivable losses and business interruption Iosses.

 7   After having its business destroyed, Plaintiff had been nearly a year without benefits

 8   which were much needed for the operation of its business. Despite Plaintiffs protests,

 9   further and proper recovery under the policy is still denied by ROTHHAMMER and
10   defendant INSURANCE.
11
                                    FIRST CAUSE OF ACTION
12                Breach of the Implied Covenant of Good Faith and Fair DealinA
                                     (Against AII Defendants)
13
            15.     Plaintiff incorporates by reference each and every allegation of the
14

15   Compiaint as though fully set forth in this cause of action.

16          16.     At all times herein relevant, Defendants agreed to act in good faith and deal

17   fairly with Plaintiff in all matters related to the policy, and insurance claims arising from
18   losses covered thereunder, including all claims as stated hereinabove.
19
            17.     Defendants assumed a special relationship with, and fiduciary obligations
20
     to Plaintiff, and agreed to abide by the duties commensurate with these obligations.
21
     Nevertheless, Defendants refused and failed to act in good faith and deal fairly with
22
     Plaintiff, and breached said obligations, as set forth in this Complaint.
23

24          18.     Defendants failed to perform a prompt reasonable and good faith

25   investigation of PlaintifPs claims and further failed to act in good faith by making direct

26   and unauthorized contacts with Plaintiff in a supposed attempt to resolve matters. Any
27   reasonable and good faith investigation of this incident would have promptly shown that
28

                                                    5
                          COMPLAINT FOR BAD FAITH INSURANCE CONDUCT
      Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 15 of 31




 1   Plaintiff was indeed the owner of the business, and that its damages were far in excess

 2   of what has been paid under the policy. Therefore, Defendants unreasonably withheld
 3
     benefits due to Plaintiff under the policy.          Defendants, by engaging in the above-
 4
     described course of conduct, furthered their own economic interests in violation of their
 5
 6   contractual and fiduciary obligations to Plaintiff, including but not limited to:

 7                    (a) Unreasonable and bad faith failure to make a prompt, full and fair

 8   payment of Plaintiffs business personal property loss, business income loss, business

 9   interference loss, accounts receivable loss and other losses compensable under the
10   Policy;
11
                      (b) Bad faith failure to reasonably and promptly investigate, adjust, and
12
     process Plaintiffs claim for damage;
13
                      (c) Failure to attempt in good faith to efFectuate a prompt, fair and equitable
14

15   Payment of Plaintiffs claim for damage;

16                    (d) Unreasonable refusal to place the financial interests of Plaintiff on an

17   equal par with defendants' own financial interests; and,
18                    (e) Other wrongful and illegal conduct as described hereinabove and other

19   wrongful and illegal conduct according to proof at trial.
20
             19.      As a direct and proximate result of the aforementioned conduct of
21
     Defendants, Plaintiff has suffered mental and emotional distress, including but not limited
22
     to, frustration, depression, nervousness and anxiety, and has thereby incurred general
23
24   damages in a sum in excess of the jurisdiction of this Court, all to be determined at the

25   time of trial.

26           20.      As a further direct and proximate result of the aforementioned conduct of
27   Defendants, Plaintiff as the real party in interest has suffered special damages in an
28

                                                      6
                             COMPLAINT FOR BAD FAITH INSURANCE CONDUCT
      Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 16 of 31




 1   amount according to proof at the time of trial, from the lack of availability of said sums to        i

 2   Plaintiff.
 3
             21.   As a further proximate result of the unreasonable conduct of Defendants,
 4
     Plaintiff was compelled to retain legal counsel to obtain the benefits due under the policy.    ;>
 5
 6   Therefore, Defendants are liable to Plaintiff for those costs of suit and attorneys' fees       ?i

 7   reasonab[y necessary and incurred by Plaintiff in order to obtain the policy benefits in an

 8   amount to be determined at the time of trial.

 9           22.   The acts alleged were part of Defendants' ordinary business practices
10   designed to keep from paying Policy benefits which were legitimately owed to Plaintiff in
11
     order to increase the Defendants' profits. In doing so, and in doing the acts set forth
12
     above, Defendants acted despicably, willfully, wantonly, maliciously, oppressively,
13
     fraudulently and/or in conscious disregard of Plaintiffs rights.
14
15
             23.   Plaintiff therefore seeks exemplary damages in a sum to be set by the jury

16   in an amount sufficient to punish Defendants for their behavior.

17                                 SECOND CAUSE OF ACTION
                            Intentional Infliction of Emotional Distress
18                                   (Against AII Defendants)                                             ,
19
             24.   Plaintiff incorporates by reference each and every allegation of the
20                                                                                                        ,
     Complaint as though set forth in this cause of action.
21
             25.   Defendants' conduct in refusing to promptly pay benefits owed to Plaintiff
22
     as set forth herein, was intentional and malicious and placed Defendants' financial
23

24   interests above the interests of Plaintiff.                                                              .

25           26.   Defendants' conduct was done with knowledge that PlaintifPs emotional and

26   physical distress after the incident would thereby increase and was done in wanton and
27   reckless disregard for the consequences to the Plaintiff.
28

                                                7
                           COMPLAINT FOR BAD FAITH INSURANCE CONDUCT
     Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 17 of 31




 1          27.     As a proximate result to the aforementioned acts, Plaintiff as the real party

2    in interest has suffered extreme humiliation, serious and severe mental anguish and
3
     emotional and physical distress and has been injured in mind and body all to its damage
4
     in an amount according to proof at the time of trial.
5
6           28.     Defendants' conduct of intentionally and willfully refusing to pay the benefits

 7   due to Plaintiff and depriving Plaintiff of the benefits from the policy to which Plaintiff was

 8   entitled were intended by Defendants to cause injury to Plaintiff. Such conduct by

 9   Defendants was carried on with a conscious disregard of the rights of Plaintiff. Plaintiff
10   had to seek the services of attorneys to protect its rights, and PlaintifPs loss was and is
11
     substantial. Such conduct on the part of Defendants constitutes outrageous conduct for
12
     which Plaintiff is entitled to damages, since Defendants' conduct was intentional, extreme
13
     and willful.
14
            29.     The conduct of Defendants as described herein was despicable and
15

16   fraudulent and was further done willfully, oppressively, maliciously, or with conscious

17   disregard of the rights of Plaintiff, and with the intent to annoy, harass or injure -Plaintiff
18   such that Plaintiff is entitled to a recovery of exemplary damages.
19
                                      ALLEGATION OF MALICE
20                                    (Against AII Defendants)

21          30.     The above-described conduct of the Defendants was malicious and

22   oppressive, and done with intent to harm the Plaintiff as the real party in interest and with
23   willful and reckless disregard forthe consequences, such that exemplary damages should
24
     be awarded to the Plaintiff.
25
                                        PRAYER FOR RELIEF
26
            WHEREFORE, Plaintiff prays forjudgment against Defendants, and each of them,
27
28   jointly, severally or in the alternative, as follows:

                                                      8
                           COMPLAINT FOR BAD FAITH INSURANCE CONDUCT
     Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 18 of 31




 1          1. For general damages to be determined at the time of trial;

 2          2. For special damages to be determined at the time of trial;
 3
            3. For attorney's fees and costs and expenses reasonably incurred to obtain the
 4
     policy benefits in the sum to be determined at the time of trial;
 5
 6          4. For exemplary damages in an amount appropriate to punish or set an example

 7   of defendants;

 8          5. For interest, including prejudgment interest, allowable by law;

 9          6. For costs of suit herein incurred; and
10          7. For such other and furrther relief as the Court may deem '        and proper under
11
     the circumstances.
12                                                                       ~

13
     Dated: February 2, 2021
14                                               OHN      VIN CROWLEY
15                                             7MIn-ey for Plaintiff
                                               DE LAVEAGA SERVIC CENTER, INC.
16

17

18

19

20

21

22

23

24

25

26

27

28

                                               9
                          COMPLAINT FOR BAD FAITH INSURANCE CONDUCT
                            Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 19 of 31

                                                                                                                                                   SUM-100
                                             SU M M O N S                                                                  FOR COURT USE ONLY
                                                                                                                       (SOLO PARA USO DE LA CORTE)
                                      (CITACION JUDIC/AL)
NOTICE TO DEFENDANT:                                                                                         ELECTRONICALLY FILED
(AVISO AL DEMANDADO):                                                                                        Superior Court of California
NAL IONWID INSIII~    r.F r,nMP
                            Y AAMCO
              Y,—S'1'~!'~C~'fHHAMMER, and DOES 1-
I~SUR~C~~OMPAN—                                                                                              County of Santa Cruz
50, inclusive                                                                                                2/3/2021 1:10 PM
YOU ARE BEING SUED BY PLAINTIFF:                                                                             AI x Calvo, Clerk
                                                                                                                   iena H                    e uty
 LO ESTA DEMANDANDO EL DEMANDANTE):
6E LAVEAGA SERVICE CENTER, INC.
 NOTICEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper Iegal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county Iaw library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your Iocal court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 )AVISOI Lo han demandado. Si no responde dentro de 30 dfas, la corte puede decidir en su contra sin escuchar su versidn. Lea la informacidn a
 continuaci6n.
     Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una Ilamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en /a corte que le quede mas cerca. Si no puede pagar la cuota de presentacidn, pida al secretario de la corte
 que le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
 podra quitar su sueldo, dinero y bienes sin mas advertencia.
    Hay otros requisitos legales. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede //amar a un servicio de
 remisidn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
 programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
 colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperacidn de $10,000 d mas de valor recibida mediante un acuerdo o una concesidn de arbitraje en un caso de derecho civil. Tiene que
 na4ar el oravamen de la corte antes de aue la corte Dueda desechar el caso.
The name and address of the court is:                                                                       ~N"~a o"dBcao): 21 CV002g1
(EI nombre y direccion de la corte es):
Superior Court, County of Santa Cruz
701 Ocean Street
Santa Cruz, CA
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(EI nombre, la direccidn y el ntimero de telefono del abogado del demandante o del demandante que no tiene abogado, es):
John Kevin Crowley, SBN 88189; Jesse Turner, SBN 2507$9, Attorneys at Law
125 S. Market Street, Suite 1200            Telephone: 408-288-8 00
San Jose, CA 95113-2288                     E-mail: jkclaw@pac 1.n t; jtjd
DATE:                                                 ,,~~,E~ ~L'~(~Clerk, by                                                                            Deputy
(Fecha) 2/3/2021                                                       (Secretario)                                            =                       ,(Adiunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citacion use el formulario Proof of Service of Summons, (Pos-oi0)).                        Helena Hanson




            l
SUN1~100[Rev July1II2009]    C;~ Essentia9                                                                                                   www.courtinlo.ca.gov
                             c~,m I,t;~Forn,s-                                                                Sean O'Neal
                      Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 20 of 31


0
                                                                                                     FOR COURT USEONLY
         SUPERIOR COURT OF CALIFORNIA, COUNTY OF SANTA CRUZ
                         Santa Cruz Branch                                                                  FILED
                         701 Ocean Street, Room 110                                                         2/3/2021
                         Santa Cruz, CA 95060
         a                                                                                              Alex Calvo, Clerk

                                                                                                       By: Helena Hanson
         DE LAVEAGA SERVICE CENTER,         INC.
                                                                                                    Deputy, Santa Cruz County
         vs

         NATIONWIDE INSURANCE COMPANY, et al

                                                                                              CASE NUMBER:
                     CASE MANAGEMENT INFORMATION AND SETTING
                                                                                              21CV00261


    DEFENDANT: YOU HAVE 30 CALENDAR DAYS TO FILE A
    WRITTEN RESPONSE WITH THE COURT ONCE YOU HAVE
    BEfN SERVED WITH THE SUMMONS AND COMPLAINT:
    The date be!ow is for a Case Management Conference. If you have not responded within 30 days, this
    hearing MAY NOT take place.

    It is the duty of each party to be fami!iar with the California Rules of Court and the date, time and
    place of the first case management conference.

    A written response is not always necessary. To make this determination it is important to seek legal
    advice and information. Some options are:

              1.   Santa Cruz County Bar Association Lawyer Referral Service: 831-425-4755 (Fee Based service)
              2.   Santa Cruz Superior Court Self Help Center: 1 Second Street, Room 301 Watsonville, CA 95076
                   831-786-7200 option 4. www.santacruzcourt.org for hours.
              3.   Santa Cruz Law Library: 7010cean Street, Room 70 (Basement), Santa Cruz, CA 95060
                   831-420-2205 www.lawlibrary.org for hours.
              4.   Watsonville Law Center: 831-722-2845


     PLAINTIFF: This notice MUST be served with the summons on all defendants and cross-defendants.
     Notice of any other pending case management conference must be served on subsequent!y named
     defendants and cross defendants.

     YOUR CASE MANAGEMENT CONFERENCE DATE:

     DATE:           06/03/2021                       TIME:        8:30 A.M.           Santa Cruz Department 5

     Address of the Court: 701 Ocean Street, Santa Cruz, California

     To Appear remote!y through Zoom at your Case Management Conference visit our court website
     https://www.santacruzcourt.org/content/remote-appearance-0


    ~1

     GET TEXT REMINDERS!
     Text case number to (831) 208-5170 for reminders about hearing dates.

     Superior Court of California                   Odyssey Hearing Notice Form: CMC                         Rev. 8/13/2020
     County of Santa Cruz
                              Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 21 of 31
                                                                                                                                                                                              CIV-050
                                           - DO NOTF/LE W/TH THE COURT-
             - UNLESS YOU ARE APPLY/NG FOR A DEFAULT JUDGMENT UNDER CODE OF CIVIL PROCEDURE § 585 -
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name andAddress) :                                                                   TELEPHONE NO,:                          FOR COURT USE ONLY
  _ John Kevin Crowfey, SBN 88189                       408-288-8100
    Jesse Turner, SBN 250789                            408-288-9409
    Attorneys at Law
    125 S. Market Street, Suite 1200
    San Jose, CA 95113-2288
    ATTORNEYFOR(Name): Plalntiff , De LaVeaga Service Center, Inc.
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF b anta Cruz
            STREETADDRESS: 701 OCiean Street
            MAILING ADDRESS:
            CITYANDZIPCODE:Santa CruZ,                   CA 95060
               BRANCH NAME:


   DEFErvoAnITNATIONWIDE INSURANCE CO., AAMCO

                                             STATEMENT OF DAMAGES
                                                                                                                                                 21CV00261
                                           (Personal Injury or Wrongful Death)
To (name of one defendant only): NATIONWIDE INSURANCE COMPANY
Plaintiff (name of one plaintiff onty) :DE LAVEAGA SERVICE CENTER, INC.
seeks damages in the above-entitied action, as follows:
                                                                                                                                                                                AMOUNT .
     General damages
     a. ® Pain, suffering, and inconvenience.....................................................................:..............................$.                                   2,500,000
     b.® Emotionaldistress ............................................................................................................................. $-                          3,00O,OOQ
     c. L] Loss of consortium ...........................................................................................................................
     d. Q      Loss of society and companionship (wrongful death actions only) ....................................................$
     e. 0      Other (specify) ...................................................................................................................................$
     f. 0      Other (speclfy) ...................................................................................................................................$
     g.L] Continued on Attachment 1.g.
2. Special damages
   a.0 Medical expenses (to date) ................................................................................................................$.
     b.Q       Future medical expenses (present value). ........................................................................................$
     c. ®      Loss of earnings (to date) .................................................................................................................$.                        2,500,000
     d. ®      Loss of future earning capacity (present value) .............................................................................. .$                                     3, 00,000
     e. ®      Property damage...............................................................................................................................$.-                     2,000-000
     f. 0      Funeral expenses (wrongful death actions only)................................................................................$
     g.Q       Future contributions (present value) (wrongful death actions only) ...................................................$
     h.0       Value of personal service, advice, or training (wrongful death actions only)..................................... $
     i. 0      Other (specify) ...................................................................................................................................$
     j. 0      Other (specify) ................................................................................................................................ .~
     k. 0      Continued on Attachment 2.k.

3. 0        Punitive damages: Plaintiff reserves the right to seek punitive damages in the amount of(sp ify)                                                    $
            when pursuing a judgment in the suit filed against you.
Date: March 9, 2021
                           .lohn KPvin Crowlev
                                 (TYPE OR PRINT NAME)                                                                         (SIGNATURE OF PLAINTIFF           ATTORNE     OR PLAINTIFF)
                                                                               Pr00f of SerVICe O           reverSe                                                                           Page 1of 2

F9`u"d~c~.qoouoc9ro~vn7ooaase                                           STATEMENT OF DAMAGgS                                                                    Code o   vll Procedure, §§ 425.11, 425.115
                                                                                                                                                                                         www.courtlnlo.ca.gov
CIV-050 [Rev. January 1, 20071                                        (Personal Injury or Wrongful Death)
CfQ ( EassFOrftls'
           entlal                                                                                                                          Sean O'I
ceb.cam
                                Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 22 of 31
                                                                                                                                                          CIV-050
     PLAINTIFF: DE LAVEAGA SERVICE CENTER, INC.                                                            CASE NUMBER:
                                                                                                           21CV00261
 - DEFENDANT:NATIONWIDE INSURANCE CO., AAMCO
                                                                     PROOF OF SERVICE
(After having the other party served as described below, with any of the documents identified !n item i, have the person who served
the documents complete this Proof of Service. Plaintiff cannot serve these papers.)

1. 1 served the
   a. Q Statement of Damages Q                       Other (specffy) :

     b. on (name) :
     c. by serving 0             defendant       Q    other (name and title or relationship to person served):

     d. Q       by delivery        0    at home         0     at business
                (1) date:
                (2) time:
                (3) address:

     e. 0       by mailing
                (1)date:
         (2) place:
2. Manner of service (check proper box) :
   a. 0  Personal service. By personally deiivering copies. (CCP § 415.10)
   b. 0  Substituted service on corporation, unincorporated association (inciuding partnership), or public entity. By
         leaving, during usual office hours, copies in the office of the person served with the person who apparentiy was in
         charge and thereafter mailing (by first-ciass mail, postage prepaid) copies to the person served at the piace where the
         copies were left. (CCP § 415.20(a))
   c. 0  Substituted service on natural person, minor, conservatee, or candidate. By leaving copfes at the dwelling house,
         usual piace of abode, or usual place of business of the person served in the presence of a competent member of the
         househoid or a person apparently in charge of the office or piace of business, at least 18 years of age, who was
         informed of the general nature of the papers, and thereafter mailing (by first-ciass mail, postage prepaid) copies to the
         person served at the piace where the copies were left. (CCP § 415.20 (b)) (Attach separate declaratlon or affidavit
         stating acts relied on to establlsh reasonable diligence In flrst attempting personal servlce.)

     d. 0       Mail and acknowiedgment service. By mailing (by first-ciass mail or airmail, postage prepaid) copies to the person
                served, together with two copies of the form of notice and acknowledgment and a return envelope, postage prepaid,
                addressed to the sender. (CCP § 415.30) (Attach completed acknow/edgment ofrecelpt.)

     e. (Q Certifled or registered mail service. By mailing to an address outside California (by first-ciass mail, postage prepaid,
           requiring a return receipt) copies to the person served. (CCP § 415.40) (Attach signed return recetpt or other
           evidence of actual delivery to the person served.)
     f. Q   Other (specify code section) :
           0    additional page is attached.
3. At the time of service I was at least 18 years of age and not a party to this action.
4. Fee for service: $
5. Person serving:
   a. Q California sheriff, marshal, or constable                            f. Name, address, and telephone number and, if appiicable,'
   b. Q Registered California process server                                     county of registration and number:
   c. Q Employee or independent contractor of a registered
            California process server
   d. Q Not a registered California process server
   e. Q Exempt from registration under Bus. & Prof. Code
            § 22350(b)

I declare under penalty of perjury under the laws of the State                       (For California sheriff, marshal or constable use only)
of California that the foregoing Is true and correct.                                I certify that the foregoing is true and correct.
Date:                                                                                Date:


                                   (SIGNATURE)                                                                   (SIGNATURE)

CIV•050 (Rev. Januery 7, 200~                                    PROOF OF SERVICE                                                                            Pege z oi z
                                                                                                                           Code of Civll Procedure, §§ 425.11. 425.1~ 5
       Essential                                                Statement of Dama es                       Sean O Neal ~
CEQ                                                            (                 g)
ceb.wm ,~]Forms
                                  Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 23 of 31
                                                                                                                                                                                                 CIV-050
                                             - DO NOT F/LE W1TH THE COURT -
               - UNLESS YOU ARE APPLY/NG FOR A DEFAULT JUDGMENT UNDER CODE OF C/V1L PROCEDURE § 585 -
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name andAddress) :                                                                      TELEPHONE NO:                            FOR COURT USE ONLY

  _ John Kevin Crowley, SBN 88189                        408-288-8100
    Jesse Turner, SBN 250789                             408-288-9409
    Attorneys at Law
    125 S. Market Street, Suite 1200
    San Jose, CA 95113-2288
    ATTORNEYFOR(Name): Plalntillu , De LaVea a Service Center, Inc.
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF Santa Cruz
               STREETADDRESs:701 Ocean                     Street
               MAILING ADDRESS:
            GTYANDZiPCODE:Santa Cruz, CA                             95060
                  BRANCH NAME:          '


   DEFENDANTNATIONWIDE INSURANCE CO.,

                                                 STATEMENT OF DAMAGES                                                                               """"""~"`'                                              I
                                                                                                                                                    21CV00261
                                              (Personal Injury or Wrongful Death)
To (name ofone defendant only) : AAMCO INSURANCE COMPANY
Plaintiff (name ofone plaintiff only) : DE LAVEAGA SERVICE CENTER, INC.
seeks damages in the above-entitled action, as follows:
                                                                                                                                                                                    AMOUNT
1. General damages
   a. ® Pain, suffering, and inconvenience....................................................................................................$.                                         2,500,000
     b. ®         Emotional distress..............................................................................................................................$-                     3,000,000
     c. 0         Loss of consortium ............................................................................................................................$.
     d.0          Loss of society and companionship (wrongful death actions only) ....................................................$
     e.Q          Other (specify) ............................................................................................:......................................$.-
     f. 0         Other (specify) ......:...........................................................................................................................$.
     g.Q          Continued on Attachment 1.g.
2. Special damages
   a.0 Medical expenses (to date) ................................................................................................................$.
     b.           Future medical expenses (present value). ........................................................................................$
     c.® Loss of earnings (to date) ..................................................................................................................$_                                 2,5.(L,000
     d. ®         Loss of future earning capacity (present value) .................................................................................$                                     3,500,000
     e. ®         Property damage................................................................................................................................$ -                     2,000,000
     f. Q         Funeral expenses (wrongful death actions only)................................................................................$
     g.Q          Future contributions (present value) (wrongful death actions only) ...................................................$
     h.0          Value of personal service, advice, or training (wrongful death actions only)..................................... $
     I. 0         Other (specify) ...................................................................................................................................$.
     j. 0         Other (specify) ..................................................................................................................................$.
     k.0          Continued on Attachment 2.k.                                                                                                                  ,/ 00 ~

3. Q   Punitive damages: Plaintiff reserves the right to seek punitive damages in the amount of(spec' ')                                                            $                                 —
       when pursuing a judgment In the suit flied against you.
oate: March 9, 2021                                                                              ~

                              .Inhn Kevin CrnwlPy                                                        '
                                    (TYPE OR PRINT NAME)                                                                           iGNATURE OF PLAINTIFF OR ATT            NEY FOR PLAINTIFF)
                                                                              Proof of service on r erSe                                                                                         Page 1cf Z
Fgr pdl l ed tp M d to uge                                                 STATEMENT OF DAM                                                                        C e of CIvII Procedure, g§ 425.11. 425.115
  uTicfaou
        °~ ncilol~'al~arr~{a                                                                                                                                                                www.caurtin/o.ca.gov
CIV-050 [Rev. January 1, 20071                                           (Personal Injury or Wrongful Death)
                ential                                                                                                                        Sean O'N al
Cfa'
te6.mm
       I   e   Form9'
                                 Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 24 of 31
                                                                                                                                                           CIV.-050
     PLAINTIFF:                                                             , INC.                        CASE NUMBER;
                                                                                                          21CV00261
 -DEFENDANT:NATIONWIDE INSURANCE CO., AAMCO
                                                                      PROOF OF SERVICE
 (After having the other party served as described below, with any of the documents identified in Jtem 1, have the person who served
 the documents complete this Proof of Service. Plaintiff cannot serve these papers.)

1. 1 served the
   a. 0    Statement of Damages Q                     Other (specify) :

      b. on (name) :
      c. by serving Q             defendant       Q    other (name and title orrelationship to person served):

      d. 0      by delivery         Q    at home         0    at business
                (1)date:
                (2)time:
                (3)address:

      e. Q
         by mailing
         (1)date: _
         (2) place:
2. Manner of service (check proper box) :
   a.0   Personal service. By personally delivering copies. (CCP § 415.10)
   b.0   Substituted service on corporation, unincorporated association (including partnership), or pubiic entity. By
         leaving, during usual office hours, copies in the office of the person served with the person who apparently was in
         charge and thereafter mailing (by first-class mail, postage prepaid) copies to the person served at the piace where the
         copies were left. (CCP § 415.20(a))
   c. 0  Substituted service on natural person, minor, conservatee, or candidate. By leaving copies at the dwelling house,
         usual place of abode, or usual place of business of the person served in the presence of a competent member of the
         househoid or a person apparently in charge of the office or piace of business, at least 18 years of age, who was
         informed of the general nature of the papers, and thereafter mailing (by first-class mail, postage prepaid) copies to the
         person served at the place where the copies were left. (CCP § 415.20 (b)) (Attach separate declaratlon or affidavit
         stating acts relied on to estab//sh reasonable diligence !n rrst attempting personal servlce.)
     d. Q       Mail and acknowiedgment service. By mailing (by first-class mail or airmail, postage prepaid) copies to the person
                served, together with two copies of the form of notice and acknowledgment and a return enveiope, postage prepaid,
                addressed to the sender. (CCP § 415.30) (Attach completed acknowledgment ofreceipt.)
     e. 0       Certified or registered mail service. By mailing to an address outside California (by frst-class mail, postage prepaid,
                requiring a return receipt) copies to the person served. (CCP § 415.40) (Attach slgned return receipt or other
                evidence of actual dellvery to the person served.)
     f. 0   Other (specify code section) :
           D additional page is attached.
3. At the time of service I was at least 18 years of age and not a party to this action.
4. Fee for service: $
5. Person serving:
   a. 0     California sheriff, marshal, or constable                        f. Name, address, and telephone number and, if applicable,
   b. 0     Registered California process server                                 county of registration and number:
   c. Q Employee or Independent contractor of a registered
            California process server
   d. 0     Not a registered California process server
   e. 0     Exempt from registration under Bus. & Prof. Code
            § 22350(b)
I declare under penalty of perjury under the laws of the State                        (For California sherJff, marshal or constab/e use only)
of Califomia that the foregoing Is true and correct.                                  I certify that the foregoing is true and correct.
Date:                                                                                 Date:

                                    (SIGNATURE)                                                                  (SIGNATURE)
CIV-050 (Rev. January 1, 2007)                                    PROOF OF SERVICE                                                                                 s ors
                                                                                                                          Code of Civil Procedure, §§ 425.11.P42 60.115
~fQ'     Essentlal                                              (Statement of Damages)                     Sean O'Neal
ceb.com ,rol Forms
                                  Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 25 of 31
                                                                                                                                                                                             CIV-050
                                                                         - DO NOT FILE WITH THE COURT -
              - UNLESS YOU ARE APPLYING FOR A DEFAULT JUDGMENT UNDER CODE OF CIVIL PROCEDURE § 585 -
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name andAddress) :                                                                     TELEPHONE NO.:                            FOR couRT USEONLY
  _ John Kevin Crowley, SBN 88189                                                                  408-288-8100
    Jesse Turner, SBN 250789                                                                       408-288-9409
    Attorneys at Law
    125 S. Market Street, Suite 1200
    San Jose, CA 95113-2288
       ATTORNEYFOR(Name): Plalntlllu            , De LaVeaga Service Center, Inc.
   SUPERIOR COURT OF CALIFORNIA, COUNTY OF                        an a Cruz
                                                                                                                                                                                                              r
                              +
             STREETADDRES5:701 OCiean                    Street
             MAILING ADDRESS:
             CITY AND ZIP CODE:Santa Cruz               , CA 95060
                BRANCH NAME:


   DEFErvDANTNATIONWIDE INSURANCE CO., AAMCO

                                              STATEMENT OF DAMAGES                                                                                  `""""M°`~`
                                                                                                                                                    21CV00261
                                            (Personal Injury or Wrongful Death)
                                                              _         _                                                                    _
 To (name of one defendant only) : STEPHEN ROTHHAMMER
 Plaintiff (name of one plaintiff only): DE LAVEAGASERVICE CENTER, INC.
 seeks damages In the above-entitied action, as follows: .
                                                                                                                                                                                  AMOUNT
 1. General damages
    a. ® Pain, suffering, and inconvenience....................................................................................................$                                     2,,500,000
      b. ®      Emotional distress ..............................................................................................................................$-                  3,SLr000
      c. Q      Loss of consortium ............................................................................................................................$.
      d.La Loss of society and companionship (wrongful death actions only) .................................................... $
      e.0       Other (specify) ...................................................................................................................................$.
      f. 0      Other (specify) ...................................................................................................................................$.
      g. 0      Continued on Attachment 1.g,
2. Special damages
     a.Q        Medical expenses (to date) ................................................................................................................$.
     b.❑        Future medical expenses (present value)..........................................................................................$
     c. ®       Loss of earnings (to date) .................................................................................................................$-                       2,500,000
     d. ®       Loss of future eaming capacity (present value) .................................................................................$                                    3,500,jZ(ZO
     e. ®       Property damaga......................... .....................................................................................................$,-                    2,000,000
     f. Q       Funeral expenses (wrongful death actions only)................................................................................$
     g. 0       Future contributions (present value) (wrongful death actions only) ...................................................$
     h.0        Value of personal service, advice, or tralning (wrongfuf death actions only)..................................... $
     i. 0       Other (specify) ...................................................................................................................................$.

     j. Q       Other (specify) .................................................................................................................................
     k. 0       Continued on Attachment 2.k.                                                                                                                   /J

3. Q   Punitive damages: Plaintiff reserves the right to seek punitive damages in the amount of(specif                                                              $
       when pursuing a judgment in the suit fiied against you.
Date: March 9, 2021

                            John Kevin Crowley                                              ,           i
                                  (TYPE OR PRINT NAME)                                                                                       E OF PLAINTIFF OR ATTORNEY
                                                                            Proof of service on re erse
F9U7a?ePBoenc°(o~Va~9o°0,a
                             ga                                          STATEMENT OF DAM                                                                           Code of CI        §§ 425.11, 425.115
                                                                                                                                                                                       www.courtinfo.ca.gov
CIV-050 (Rev. January 1, 20on                                          (Personal Injury or Wrongful Death)
Cfli   ( Essential
ceb.com ` Forins-
                                                                                                                                             Sean O'Neal
                                Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 26 of 31
                                                                                                                                                           CIV-050
      PLAINTIFF: DE LAVEAGA SERVICE CENTER, INC.                                                          CASENUMBER:
                                                                                                          21CV00261
  —DEFENDANT:NATIONWIDE INSURANCE CO., AAMCO
                                                          PROOF OF SERVICE
 (After having the other party served as described below, with any of the documents Identified In item 1, have the person who served
 the documents complete thfs Proof of Service. Plaintiff cannot serve these papers.)

 1. 1 served the
    a. 0 Statement of Damages Q                      Other (spec/fy) :

      b. on (name) :
      c. by senring 0            defendant       Q     other (name and title orrelationshlp to person served):

      d. ❑      by de)ivery        Q     at home        Q     at business
                (1)date:
                (2)time:
                (3)address:

      e. 0by mailing
          (1)date:
          (2)p)ace:
 2. Manner of service (check proper box) :
    a.Q Personal service. By personally delivering copies. (CCP § 415.10)
    b.Q Substituted service on corporation, unincorporated association (inciuding partnership), or public entlty. By
          leaving, during usuai office hours, copies in the office of the person served with the person who apparently was in
          charge and thereafter mailing (by first-ciass mail, postage prepaid) copies to the person served at the place where the
          copies were left. (CCP § 415.20(a))
    c. 0 Substituted service on natural person, minor, conservatee, or candidate. By leaving copies at the dwelling house,
          usual place of abode, or usual piace of business of the person served in the presence of a competent member of the
          household or a person apparently in charge of the office or place of business, at least 18 years of age, who was
          informed of the general nature of the papers, and thereafter mailing (by first-class mail, postage prepaid) copies to the
          person served at the place where the copies were left. (CCP § 415.20 (b)) (Attach separate declaration or affidavit
          stating acts relied on to establlsh reasonab/e diligence /n flrst attempting personal service.)
      d. Q      Mail and acknowledgment service. By mailing (by first-ciass mail or airmail, postage prepaid) copies to the person
                served, together with two copies of the form of notice and acknowiedgment and a return enveiope, postage prepaid,
                addressed to the sender. (CCP § 415.30) (Attach completed acknowledgment of receipt.)
     e.Q        Certified or registered mail service. By mailing to an address outside California (by first-ciass mail, postage prepaid,
                requi(ng a return receipt) copies to the person served. (CCP § 415.40) (Attach signed return recelpt or other
                evidence of actua/ dellvery to the person served.)
     f. Q   Other (specify code section) :
            0 additional page Is attached.
3. At the time of service I was at least 18 years of age and not a party to this action.
4. Fee for service: $
5. Person serving:
   a. C] California sheriff, marshal, or constable                           f. Name, address, and telephone number and, if appiicable,
   b. 0 Registered California process server                                     county of registration and number:
   c. Q Employee or independent contractor of a registered
             California process server
   d. 0 Not a registered California process server
   e. 0 Exempt from registration under Bus. & Prof. Code
             § 22350(b)
I declare under pena)ty of perjury under the laws of the State                       (For California sheriff, marshal or constab/e use only)
of California that the foregoing is true and correct.                                I certify that the foregoing is true and correct.
Date:                                                                                Date:

                                   (SIGNATURE)                                                                   (SIGNATURE)
CIV-050IRev. January 1, 20071                                    PROOF OF SERVICE                                                                            Page z of z
                                                                                                                           Code of Civll Procedure, §§ 428.11, 425.115
Cf(3' ~~
       Essentlal
         Fo,,,,s.                                              (Statement of Damages)                     Sean O Neal  ~
~~com
                Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 27 of 31




GET TEXT REMIfVDERS!
Text case number to (831) 208-5170 for reminders about hearing dates.

Superior Court of California          Odyssey Hearing Notice Form; CMC   Rev. 03/02/2020
County of Santa Cruz
                        Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 28 of 31


                                                                                                                           PCS-01 0
ATTORNEY OR PARTY WITHOUT ATTORNEY:                                                                       FOR COURT USE ONLY
John Kevin Crowley, Esq. (SBN 88189)
125 S Market St, #1200
San           Jose,   CA 95113

 TELEPHONE NO.: (408) 288-8100
  ATTORNEY FOR: Plaintiff
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SANTA CRUZ
   STREETADDRESS; 701 Ocean St,                       Room 110
  MAILING ADDRESS: 701 Ocean St, Room 110
 CITY AND ZIP CODE: Santa Cruz. 95060
     BRANCH NAME: Santa Cruz
  PLAINTIFF: De Laveaga                  Service Center, Inc.                                      CASE NUMBER:
                                                                                                   21 CV 00261
DEFENDANT: Nationwide                    Insurance Company; et              a1

                                                                                                   Ref. No. or File No.:
                                  PROOF OF SERVICE 0F SUMMONS
                                                                                                                                 rf‘fF'X‘
      At the time of service I was at least 18 years of age and not a party to this action.

      Iserved copies of:
      f.other (speciy documents):
      Summons; Complaint; Civil Case Sheet; Statement of Damages Re: AAMCO Insurance Company;
      Stetement of Damages Re: Nationwide Insurance Company; Stetement of Damages Re: Stephen
      Rothhammer; Case Management Information and Setting

      a.         Party served:
                 AAMCO        Insurance Company

      b.         Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
                 item 5b on whom substituted service was made):
                 Agent, CSC Lawyers Incorporating Service by serving Trudy Desbiens / Authorized
                                                                                                                              To Accept

      Address where the party was served:
      2710 Gateway Oaks Dr., Suite 150N, Sacramento, CA 95833

          l   served the party
                                                                               listed in item 2 to the party or person authorized to receive
          a.      by personal service. l personaily delivered the documents
                  service of process for the party on 4 /7/202 1 at 3 : 4 9 pm



          The "Notice to the Person Served" (on the summons) was completed as follows:
          d.      On behalf of: AAMCO Insurance Company
                  under the following Code of Civil Procedure section:
                       41 6. 1 0 (corporation)

          Person who served papers
          a.      Name: Katrina Williams
                  Firm: County Process Service, Inc.
                  Address: 31 E. Julian Street, San                 Jose,   CA 95112
      {DP-99'




                  Telephone number: (408) 297~6070
                  The fee for the service was: $100 . 50
                  lam:
                  (3)     a registered California process server:
                          (i)   independentcontractor
                          (ii)  Registration No.: 2015-10
                          (iii) County: Sac ramento



                                                                                                                                      Page   1   ct 2


 Judicill Council oi California
Posowinov.unu-ryi.2oon                                  PROOF OF SERVICE OF SUMMONS                            Job Number COP-2021003815
 Form adopted by rul- 932.9
                        Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 29 of 31


   PLAINTIFF: De Laveaga                Service Center, Inc.                                     CASE NUMBER:
                                                                                                 21 CV 00261
 DEFENDANT: Nationwide                  Insurance Company; et al

8.     I   declare under penalty of perjury under the laws of the Slate of California that the foregoing is true and correct.

Date: 4/1 2/2021




               (NAME
                          Katrina Williams
                       or pensou wno SERVED PAPERS)
                                                                       p        0<\           (summons)




                                                                                                                                Pago 2 at 2


                                                                                                              Job Number COP-2021003815
     p3:?§€&25?31335;“§??&n                           pRoop 0;: SERVICE 0F summons
      Form adopted by ~13 952.9
                         Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 30 of 31


                                                                                                                                PCS-010
ATTORNEY OR PARTY WITHOUT ATTORNEY:                                                                     50R COURT USE ONLY
John Kevin Crowley, Esq.  (SBN 88189)
125 S Market St, #1200                                                                            ELECTRONICALLY FILED
San      Jose,       CA 95113                                                                     Superior Court of California
      TELEPHONE NO.: (408) 288-8100                                                               County of Santa Cruz
       ATTORNEY FOR: Plaintiff                                                                    4/12/2021 1:36 PM
                                                                                                  Alex Calvo, Clerk
SUPERIOR COURT OF CALIFORNIA. COUNTY OF SANTA CRUZ
  STREET ADDRESS: 701 Ocean St, Room 110                                                          By: Helena Hanson, Deputy
  MAILING ADDRESS: 701 Ocean St, Room 110
 CITY AND ZIP CODE; Santa Cruz, 95060                                                                                                      "
     BRANCH NAME: Santa Cruz
   PLAINTIFF: De Laveaga Service Center, Inc.                                                    CASE NUMBER:
                                                                                                 21 CV 00261
 DEFENDANT: Nationwide Insurance Company; er. a1
                                                                                                 Ref. No. or File No.:
                                  PROOF OF SERVICE OF SUMMONS
                                                                                                                                 RV 51 X
       At the time of service was at least 18 years of age and not a party to this action.
                                    I




2.      lserved copies of:
        f.other (speciy documents):
        Summons; Complaint; Civil Case Sheet; Scetement of Damages Re: AAMCO Insurance Company;
        Statement of Damages Re: Nationwide Insurance Company; Stetement of Damages Re: Stephen
        Rothhammer; Case Management Information and Setting

3.      a.        Party served:
                  Nationwide Insurance Company
                                                                                                                        not a person under
        b.        Person (other than the party in Item 3a) served on behalf of an entity or as an authorized agent (and
                  item 5b on whom substituted service was made):
                                                                                                  Desbiens / Authorized To Accept
                  Agent, CSC Lawyers Incorporating Service by serving Trudy

4.      Address where the party was served:
        2110 Gateway Oaks Dr.. Suite 150N, Sacramento, CA 95833

5.       l   served the party                                                                                                    receive
                                                             the documents listed in item 2 to the party or person authorized to
         a.      by personal service. I personally delivered
                 service of process for the party on 4/7/2021 at 3 : 4 9 pm


                                                                          as follows:
6.       The "Notice to the Person Served" (on the summons) was completed
         d.   On behalf of: Nationwide    Insurance     Company
              under the following Code of Civil Procedure section:
                          41 6.1 0 (corporation)

 7.          Person who served papers
             a.    Name: Katrina Williams
                   Firm: County Process Service. Inc.
                   Address: 31 E. Julian Street, San                 Jose,   CA 95112
                   Telephone number: (408) 297-6070
         9999'




                   The fee for the service was: $58 . 00
                   lam:
                   (3)     a registered California process server:
                           (i)   independent contractor
                           (ii)  Registration No.2 2015—10
                           (iii) County: Sacramento


                                                                                                                                    Pagotolz

      Indian WI                                                                                              Job Number COP-2021003814
                                                         pRoop 0F SERV|CE 0F summons
                o! commie
     vosoiornwmma.zoon
      Faun adopted bynito 062.!
                          Case 5:21-cv-03389-BLF Document 1 Filed 05/06/21 Page 31 of 31


   PLAINTIFF: De Laveaga                Service Center, Inc.                                      CASE NUMBER:
 DEFENDANT: Nationwide                  Insurance                                                 21 CV 00261
                                                     Company; et a1

8.      l   declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

Date: 4/1 2/2021



                           Katrina Williams
                (NAME OF PERSON WHO SERVED PAPERS)
                                                                        ’       0<   \~        (SIGNATURE)




                                                                                                                                 Page   2   of   2




                                                     moon: or SERVICE 0F SUMMQNS                              Job Number COP-2021003814
     pégiii'i'ffi‘i??&n
      Form adopted by ~10 932.9
